     Case 2:19-cv-11202-MLCF-KWR Document 62 Filed 06/08/21 Page 1 of 2



                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA


 JONATHAN RAMOS                                                   CIVIL ACTION
 VERSUS                                                           NO. 19-11202
 IRON MOUNTAIN SECURE SHREDDING,                                  SECTION “F” (4)
 INC., ET AL


                      PRELIMINARY CONFERENCE NOTICE

       A PRELIMINARY CONFERENCE will be held BY TELEPHONE on
THURSDAY, JULY 8, 2021 AT 9:30 A.M. for the purpose of scheduling a pre-trial
conference and trial on the merits and for a discussion of the status and discovery cut-off
dates.

      Please follow these instructions to participate in the telephone conference

      1.     Call Toll Free: 888-278-0296
      2.     Enter the Access Code -- 7415986 -- followed by the # key.
      3.     The system will ask if you're joining as the host or to otherwise press the # key;
             please press the # key. (At this point you will be placed on hold until the
             conference is activated.)
      4.     You will be alerted once the call is activated and prompted to enter the
             Participant Security Code -- 11202 -- followed by the # key.

      This conference will be activated at 9:25 a.m. Please make sure you have dialed
      in by this time as roll will be taken before the conference begins.


       TRIAL COUNSEL are to participate in this conference. If, however, you are
unable for good cause to do so, another attorney in your firm may participate if acquainted
with all details of the case and authorized to enter into any necessary agreements. If, for
good cause, neither is possible, you must file a Motion and Order to Continue at least one
week prior to the above date.

                                             CHERIE STOUDER
                                             CASE MANAGER
                                             SECTION "F"
                                             504-589-7683

  NOTICE OF COMPLIANCE WITH Fed.R.Civ.P. 26(a)(1) AND 26(f)
COUNSEL ARE TO COMPLY WITH THE DISCLOSURE REQUIREMENTS OF
RULE 26(a)(1) and 26(f) and LOCAL RULE 26, AND THE CORPORATE
DISCLOSURE REQUIREMENTS OF F.R.C.P. 7.1. COUNSEL ARE TO BE
PREPARED TO ANSWER THE ATTACHED QUESTIONS CONCERNING
DISCLOSURE.
     Case 2:19-cv-11202-MLCF-KWR Document 62 Filed 06/08/21 Page 2 of 2




COUNSEL ADDING NEW PARTIES SUBSEQUENT TO THE MAILING
OF THIS NOTICE SHALL NOTIFY SUCH NEW PARTY TO APPEAR AS
REQUIRED BY THIS NOTICE.


                 IMPORTANT NOTICE TO COUNSEL

COUNSEL WILL BE REQUIRED TO ANSWER THE FOLLOWING
QUESTIONS REGARDING DISCLOSURE AT THE CONFERENCE
       MUST PARTICIPATE IN THIS CONFERENCE.

COUNSEL WILL BE REQUIRED TO ANSWER THE FOLLOWING
QUESTIONS REGARDING DISCLOSURE AT THE CONFERENCE:

1.    Have all parties completed your Rule 26(a)(1) mandatory initial
      disclosures?
2.    Have all parties stipulated that initial disclosures under Rule 26(a)(1)
      will not be made in this case?
3.    Do any of the parties object to making Rule 26(a)(1) initial disclosures
      in this case?*
4.    Have the corporate parties filed their corporate disclosure
      statements?

      * Written objections must be filed three days prior to the preliminary
      conference.
